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                                        UNITED STATES
                            SECURITIES AND EXCHANGE COMMISSION
                                  DENVER REGIONAL OFFICE
                             BYRON G. ROGERS FEDERAL BUILDING
                               1961 STOUT STREET, SUITE 1700
                               DENVER, COLORADO 80294-1961
 DIVISION OF                                                                              (303) 844-1041
ENFORCEMENT                                                                             millerte@sec.gov




                                         December 6, 2017



Honorable Denise Cote
U.S. District Court for the Southern District of New York
Daniel Patrick Moynihan United States Courthouse
500 Pearl Street, Room 1610
New York, NY 10007


       Re:     SEC v. Alpine Securities Corporation
               Case No.: 1:17-CV-04179-DLC

Dear Judge Cote:

       Pursuant to the Court’s Individual Practices 4.A and 3.D and the Court’s Order dated
December 1, 2017 (“Order”), Plaintiff the Securities and Exchange Commission (“Commission”)
submits this request to file redacted papers and sealed exhibits in support of its Motion for Partial
Summary Judgment (“Motion”).

       The Commission seeks permission to file redacted documents and sealed exhibits in
support of its Motion for Partial Summary Judgment. The redacted documents include the
Commission’s Memorandum of Law and Rule 56.1 Statement of Material Facts submitted in
support of the motion. These papers discuss suspicious activity reports (“SARs”) and related
information protected by strict confidentiality provisions of the Bank Secrecy Act. 31 U.S.C. §
5318(g)(2)(i)-(ii); see also 31 C.F.R. § 1023.320(e). To protect the confidential nature of this
information, the Commission proposes redacting information that could be used to discern the
existence or content of a SAR, including the following information related to a SAR: customer
names, identifying information about customers such a country of origin or criminal or
regulatory history, the value of transactions, the volume of transactions, the identity of issuers,
and the dates of filings and transactions described in SARs.

        The Commission also requests permission to submit exhibits under seal, specifically
exhibits numbered 4-6, 14-22, 24-35, and 37-67. The Commission requests permission to submit
exhibits numbered 4-5 under seal because Defendant Alpine Securities Corporation designated
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these documents confidential when it produced them to the Commission. The Commission
requests permission to submit exhibits 6 under seal because the document is designated
confidential by FINRA. The Commission requests to submit exhibits 14-22, 24-35, 37-42, 44-48,
50-54, and 56-67 under seal because these exhibits are SARs or SAR supporting files designated
as SAR Material under the Protective Order issued in this case. The BSA regulations prohibit
disclosure of these materials. 31 U.S.C. § 5318(g)(2)(i)-(ii); see also 31 C.F.R. § 1023.320(e).
Finally, the Commission requests to submit exhibits 43, 49, and 55 under seal because they
contain unique information about customer transactions that could be used to discern the
existence of SARs filed on related transactions.

        The Commission will submit digital copies of clean versions of these materials as well as
highlighted versions of the requested redactions in the Commission’s Memorandum of Law and
Rule 56.1 Statement of Material Facts via email and deliver hard copies of the same materials
directly to the Court’s chambers.

        Accordingly, the Commission requests that the Court permit the Commission to submit
the redacted documents and sealed exhibits described above and submitted to the Court’s
chambers.


                                             Sincerely,

                                             /s/ Terry R. Miller
                                             Zachary T. Carlyle (pro hac vice)
                                             Terry R. Miller (pro hac vice)



cc:    All counsel of record




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